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                                                 U NI T E D S T A T E S DI S T RI C T C O U R T
                                                    DI S T RI C T O F S O U T H D A K O T A
                                                             W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                         5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                        M O TI O N T O C O N TI N U E O R D E R
                        v.                                                          S E T TI N G T RI A L D A T E A N D
                                                                                    M O TI O N F O R D A T E C E R T AI N
KI M B E R L E E PI T A W A N A K W A T                                             F O R T RI A L
                D ef e n d a nt




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m

T h e H o n or a bl e J effr e y L. Vi k e n
U nit e d St at es Distri ct C o urt J u d g e
5 1 5 Ni nt h Str e et, R o o m 3 1 3
R a pi d Cit y, S D 5 7 7 0 1

T h e H o n or a bl e Ver o ni c a L. D uff y
U nit e d St at es M a gistr at e J u d g e
4 0 0 S. P hilli ps A v e n u e R o o m 1 1 9
Si o u x F alls, S D 5 7 1 0 4.


R e: M oti o n t o C o nti n u e Or d er S etti n g Tri al D at e a n d M oti o n f or D at e C ert ai n f or Tri al



I, Ki m b erl e e Pit a w a n a k w at , t h e D ef e n d a nt i n t h e a b o v e c a pti o n e d c as e, r es p e ctf ull y m o v es t his H o n or a bl e

C o urt t h at y o u iss u e a n or d er c o nti n ui n g all a p pli c a bl e m oti o ns, n oti c e d at es, tri al m oti o ns a n d t h e tri al

d at e f or 6 0 d a ys . F urt h er, D ef e n d a nt r e q u ests t h at t his H o n or a bl e C o urt s ets a D at e C ert ai n f or Tri al .

Gr a nti n g t his c o nti n u a n c e is i n t h e i nt er ests of J usti c e a n d will all o w D ef e n d a nt s uffi ci e nt ti m e t o pr e p ar e

a d diti o n al M oti o ns dis c uss e d b el o w. T his c o nti n u a n c e r e q u est c o m es o nl y d a ys aft er D ef e n d a nt M oti o ns

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t o pr o c e e d Pr o S e w as gr a nt e d b y M a gistr at e J u d g e Ver o ni c a D uff y. T his is t h e D ef e n d a n t’s first M oti o n

f or a C o nti n u a n c e as a Pr o S e D ef e n d a nt. T his r e q u est is t o all o w D ef e n d a nt t h e ti m e n e e d e d t o fil e

n e c ess ar y M oti o ns a n d pr e p ar e t h e c as e f or tri al. U nf ort u n at el y, m u c h of t his w or k s h o ul d h a v e b e e n d o n e

b y pri or c o urt a p p oi nt e d c o u ns el, J o n at h a n M c C o y, a n d Fr a n k Dris c oll, D ef e n d a nt’s c urr e nt st a n d b y

c o u ns el . T his M oti o n is n ot m a d e f or t h e p ur p os e of d el a y a n d is a r e as o n a bl e r e q u est f or t h e r e as o ns s et

o ut b el o w :

     1.    T his C o urt h el d a h e ari n g o n D ef e n d a nts M oti o n t o Pr o c e e d Pr o S e o n J u n e 5, 2 0 2 3. Aft er

           c o n d u cti n g a F ar ett a i n q uir y t his C o urt ki n dl y gr a nt e d D ef e n d a nt’s M oti o n t o r e pr es e nt h ers elf.

     2.    O n J u n e 6, 2 0 2 3, Distri ct C o urt J u d g e J effr e y Vi k e n , tri al j u d g e i n t his m att er iss u e d a n Or d er

           S etti n g Tri al D at e a n d R el at e d M att ers . T h e c urr e nt d at es f or pr etri al m oti o ns, c o nti n u a n c e

           m oti o ns, writs of h a b e as c or p us a d t estifi c a n d u m, r e c or ds pr o d u cti o n ass o ci at e d wit h F e d. R.

           E vi d. 4 1 2, 4 1 3 a n d 4 1 5 a n d Dis cl os ur e of all e x p ert i nf or m ati o n r e q uir e d b y D. S. D. St a n di n g

           Or d er 2 2 -0 6( 1) ar e all d u e i n f o ur d a ys’ ti m e , a c c or di n g t o t h e c urr e nt Or d er. D ef e n d a nt will fi n d

           it e xtr e m el y b ur d e ns o m e or m or e li k el y i m p ossi bl e t o c o m pl y wit h t h es e c urr e nt d e a dli n es gi v e n

           t h at t his all o ws o nl y ni n e w or ki n g d a ys b et w e e n t h e or d er all o wi n g pr o s e r e pr es e nt ati o n a n d t h e

           first s c h e d ul e d d e a dli n e.

     3.    D ef e n d a nt h a d fil e d a M oti o n t o a p p e ar b y vi d e o f or t h e h e ari n g o n J u n e 5, 2 0 2 3, w hi c h w as

           d e ni e d. T h e d e ni al of t h e m oti o n t o a p p e ar b y vi d e o m e a nt t h at I w as tr a v eli n g fr o m mi d ni g ht o n

           S u n d a y J u n e 3, u ntil m y r et ur n t o Or e g o n o n J u n e 6. I arri v e d b a c k at m y h o m e o n We d n es d a y,

           J u n e 7, 2 0 2 3, at a p pr o xi m at el y 3: 0 0 p. m. T his h as all o w e d m u c h l ess ti m e f or m e t o c o n d u ct l e g al

           r es e ar c h, r e vi e w t h e a p pli c a bl e r ul es a n d pr e p ar e m oti o ns.

     4.    I a m als o th e si n gl e m ot h er of t hr e e y o u n g c hil dr e n wit h v er y li mit e d f a mil y s u p p ort, s o t h e ti m e I

           h a v e a v ail a bl e t o c o n d u ct l e g al w or k is s o m e w h at li mit e d, gi v e n t h e pr e vi o us or d er fr o m J u d g e

           W oll m a n n t h at I n ot h a v e c o nt a ct wit h m y d a u g ht er, Was k o n ess Pit a w a n a k w at , w h o s h ar e d

           c hil d c ar e d uti es wit h m e all o wi n g us t o w or k, b e c a us e s h e is a p ot e nti al wit n ess i n t h e c as e. I

           m e nti o n t h es e m att ers n ot t o g ai n t h e s y m p at h y of t h e C o urt b ut t o p oi nt o ut t h at I f a c e s e v er al

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       pr a cti c al diffi c ulti es i n pr e p ari n g m oti o ns, w hi c h ar e r el e v a nt t o t his m oti o n t o all o w m e

       a d diti o n al ti m e t o fil e t h e M oti o ns n e c ess ar y t o pr e p ar e t his c as e f or tri al. I h a v e b e e n s u bj e ct t o

       o n er o us c o n diti o ns of pr etri al r el e as e f or o v er t w o y e ars, w hi c h h a v e pr e cl u d e d a n y c o nt a ct wit h

       m y d a u g ht er b et w e e n t h e a g e of 2 1 t o 2 3.

  5.   I u n d erst a n d t h at t h e l a w a p pli es a pr es u m pti o n t h at I a m i n n o c e nt u ntil pr o v e n g uilt y, b ut m y

       e x p eri e n c e h as b e e n t h e o p p osit e, t h at t h e l a w pr es u m es m e t o b e g uilt y, e v e n t h o u g h I h a v e

       m ai nt ai n e d m y i n n o c e n c e t hr o u g h o ut a n d I h a v e n o cri mi n al hist or y a n d I h a v e c o m pli e d wit h all

       c o n diti o ns of pr etri al r el e as e.

  6.   M y pr e vi o us c o urt a p p oi nt e d l a w y ers, Mr. J o h n at h a n M c C o y, a n d Mr. Fr a n k Dris c oll f ail e d i n

       t h eir o bli g ati o ns u n d er t h e A p pli c a bl e A m eri c a n B ar Ass o ci ati o n St a n d ar ds f or Cri mi n al D ef e ns e.

       F or e x a m pl e, Mr. M c C o y a n d Mr. Dris c oll b ot h r ef us e d t o fil e a M oti o n f or CJ A f u n ds t o hir e a

       f or e nsi c e x p ert t o t est t h e s p e nt b ull et l o c at e d i n t h e all e g e d vi cti m’s v e hi cl e.

  7.   Pl e as e s e e D ef e n d a nts M oti o n f or CJ A F u n di n g t o R etai n F or e nsi c Fir e ar ms a n d B al listi cs E x p ert

       a n d Or d er f or E x p ert A c c ess t o t h e Dis c o v er y a n d E vi d e n c e t h at will b e fil e d b y t o d a y. I n t h at

       M oti o n I d et ail s p e cifi c iss u es wit h m y pri or c o urt a p p oi nt e d att or n e ys, a n d I a m pr e p ar e d t o

       t estif y u n d er oat h r e g ar di n g t h es e m att ers a n d pr o vi d e all c orr es p o n d e n c e b e t w e e n t h es e l a w y ers

       a n d m ys e lf.

  8.   Mr. Dris c oll u nil at e r all y vi ol at e d his d ut y of c o nfi d e nti alit y t o m e, w h e n h e pr es e nt e d a l ett er t o

       M a gistr at e J u d g e W oll m a n wit h a f o ur -p a g e d et ail e d att a c k o n m y c h ar a ct er cl ai mi n g t h at t h er e

       w as n o i n v esti g ati o n t h at n e e d e d t o b e d o n e a n d n o e vi d e n c e a v ail a bl e t o t est. T his l ett er w as a

       dir e ct misr e pr es e nt ati o n t o t h e C o urt, i n vi ol at i o n of A B A St a n d ar d 4 -1. 4 “ ( b) D ef e ns e c o u ns el

       s h o ul d n ot k n o wi n gl y m a k e a f als e st at e m e nt of f a ct or l a w or off er f als e e vi d e n c e, t o a c o urt,

       l a wy er, wit n ess es, or t hir d p art y, ” ( S e e:

       htt ps:// w w w. a m eri c a n b ar. or g/ gr o u ps/ cri mi n al j usti c e/st a n d ar ds/ D ef e ns e F u n cti o n F o urt h E diti o n/ ?

       q = & wt =js o n &sr c = a b a -n a v -s e ar c h-f or m &st art = 0).



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  9.   Mr. Dris c oll’s cl ai m t h at t h er e is n o e vi d e n c e t o b e t est e d is i n c o nsist e nt wit h t h e i nf or m ati o n

       pr o vi d e d b y Mr. J o h n Ni x o n as c a n b e s e e n fr o m D ef e n d a nts M oti o n f or CJ A F u n di n g t o R et ai n

       F or e nsi c Fir e ar ms a n d B al listi cs E x p ert a n d Or d er f or E x p ert A c c ess t o t h e Dis c o v er y a n d t h e

       t hr e e att a c h e d e x hi bits.

  1 0. D ef e n d a nt a nt i ci p at es fili n g a d diti o n al r el e v a nt pr etri al m oti o ns, i n cl u di n g a M oti o n f or CJ A

       F u n ds t o hir e a c o m p et e nt i n v esti g at or (t h e pri or i n v esti g at or w a s a “f ri e n d” of Mr. M c C o y a n d

       w as n ot i n d e p e n d e nt ), M oti o n t o C o m p el Dis c o v er y, M oti o n f or E arl y Dis cl os ur e of Br a d y

       i nf or m ati o n, M oti o n f or Dis c o v er y of Cri mi n al Hist or y i nf or m ati o n r e g ar di n g g o v er n m e nt

       wit n ess es, a H e nt h or n         Moti o n f or i n c a m er a r e vi ew of f or m er CI P u c k ett ’s e m pl o y m e nt fil e,

       M oti o n f or I nf or m ant I nf or m ati o n r e g ar di n g I a n D ull K nif e a n d ot h er G o v er n m e nt i nf or m a nts,

       M oti o n t o Dis miss u p o n v ari o us Gr o u n ds , M oti o n f or F e d. R. Cri m. Pr o c e d ur e 1 7( c) s u b p o e n as

       d u c es t e c u m u p o n a s h o wi n g of g o o d c a us e a n d a M oti o n f or Tri al S u b p o e n as ( F e d. R. Cri m.

       Pr o c e d ur e 1 7 ( b)) t o b e s er v ed at G o v er n m e nt e x p e ns e. T his list is n ot e xh a usti v e a n d t h er e mi g ht

       b e a d diti o n al n e c ess ar y d ef e ns e M oti o ns. D ef e n d a nt pr o vi d es t his li st of p ot e nti al M oti o ns t o

       pr o vi d e a d diti o n al i nf or m ati o n t o t h e C o urt t o s u p p ort t h e i nst a nt M oti o n f or a 6 0 -d a y

       C o nti n u a n c e .

  1 1. If a d diti o n al i nf or m ati o n a b o ut D ef e n d a nts r el ati o ns hi p wit h pri o r C o urt a p p oi nte d c o u ns el is

       n e e d e d, t h e n I a m q uit e pr e p ar e d t o pr o vi d e c o pi es of all c orr es p o n d e n c e b et w e e n D ef e n d a nt a n d

       pri or c o u ns el .

  1 2. D ef e n d a nt m a k es t his M oti o n f or a C o nti n u a n c e n ot f or t h e p ur p os es of d e l a y b ut t o pr e p ar e t h e

       c as e f or tri al a n d a c c o m plis h t h e w or k n e c ess ar y t o pr es e nt h er d ef e n s e at tri al. D ef e n d a nt h as s o

       f ar pr e p ar ed a n d fil e d fi v e M oti o ns wit h t h e C o urt ( 1. M ot i o n t o Wit h dr a w R e q u est F or N e w

       C o u ns el A n d Pr o c e e d Pr o S e, fil e d J u n e 5, 2 0 2 3; M o ti o n t o Va c at e Or d er as M o ot Or i n t h e

       Alt e r n ati v e T o A p p e ar B y Vi d e o , fil e d a p pr o xi m at el y M a y 2 3, 2 0 2 3 ; M oti o n t o All o w Fili n g Vi a

       E C F , fil e d J u n e 1 2, 2 0 2 3; t he M oti o n F or CJ A F u n di n g T o R et ai n F or e nsi c Fir e ar ms A n d



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            B allisti cs Or d er F or E x p ert A c c ess T o T h e Dis c o v er y A n d E vi d e n c e, w hi c h will b e fil e d t o d a y or

            t o m orr o w a n d t his c urr e nt M oti o n, whi c h s h o ul d b e fil e d t o d a y or t o m orr o w.

      1 3. B y pr e p ari n g a n d fili n g fi v e M oti o n s b et w e e n J u n e 5 a n d J u n e 13 or 1 4, D ef e n d a nt h o p e s t o

            pr o vi d e s o m e ass ur a n c e t o t his H o n or a bl e C o urt t h at D ef e n d a nt t a k es t his c as e e xtr e m el y

            s eri o usl y a n d pl a ns t o pr e p ar e h er c as e d ili g e ntl y f or tri al.

      1 4. T h e c urr e nt d e a d li n e f or Pr etri al M oti o ns is F ri d a y, J u n e 1 6, 2 0 2 3. D ef e n d a nt r e q u ests e x p e dit e d

            r es ol uti o n of h er C o nti n u a n c e M oti o n s o as t o h a v e s uffi ci e nt n oti c e t o fil e as m a n y of t h e

            M oti o ns i d e ntifi e d i n p ar a g r a p h 1 0 a b o v e as c a n b e fil e d b et w e e n n o w a n d Fri d a y , if t h e C ourt

            d e ni es D ef e n d a n t’s M oti o n.

W H E R E F O R E D ef e n d a nt p r a ys t his C o urt f or its Or d er gr a nti n g t his M oti o n f or a n Or d er c o nti n ui n g all

a p pli c a bl e m oti o ns, n oti c e d at es, tri al m oti o ns a n d t h e tri al d at e f or 6 0 d a ys . F urt h er, D ef e n d a nt r e q u ests

t h at t his H o n or a bl e C o urt s ets a D at e C ert ai n f or Tri al.



D at e d t his 1 3 t h d a y of J u n e 2 0 2 3


R es p e ctf ull y ,

/ s / Ki m berlee Pit a w a n a k w at

Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m


c c: H e at h er S a z a m a, Assist a nt U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
H e at h er. S a z a m a @ us d oj. g o v

Alis o n J. R a ms d ell, U nit e d St at es Att or n e y, Distri ct of S o ut h D a k ot a, vi a e m ail:
Alis o n. R a ms d all @ us d oj. g o v




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                                                U NI T E D S T A T E S DI S T RI C T C O U R T
                                                   DI S T RI C T O F S O U T H D A K O T A
                                                            W E S T E R N DI VI SI O N


U NI T E D S T A T E S O F A M E RI C A                                                        5: 2 0 - C R-5 0 1 2 2
                 Pl ai ntiff                                                       S P E E D Y T RI A L W AI V E R
                        v.                                                         D E C L A R A TI O N O F KI M B E R L E E
                                                                                   PI T A W A N A K W A T
KI M B E R L E E PI T A W A N A K W A T
                D ef e n d a nt




Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m


I, Ki m b erl e e Pit a w a n a k w at , d e cl ar e u n d er p e n alt y of p erj ur y as f oll o ws:

     1.    I a m t h e d ef e n d a nt i n t h e a b o v e-c a pti o n e d m att er.

     2.    I a m a d vis e d of m y c o nstit uti o n al ri g ht t o a s p e e d y a n d p u bli c tri al u n d er t h e Si xt h A m e n d m e nt

           a n d m y ri g hts u n d er t h e f e d er al S p e e d y Tri al A ct ( T h e A ct). I u n d erst a n d t h at m y tri al m ust

           or di n aril y c o m m e n c e wit hi n s e v e nt y d a ys aft er t h e I n di ct m e nt w as fil e d or aft er I first a p p e ar e d

           b ef or e a M a gistr at e, w hi c h e v er o c c urr e d first. I als o u n d erst a n d t h at t h e s e v e nt y-d a y p eri o d c a n

           b e e xt e n d e d d u e t o p eri o ds of ti m e t h at ar e e x cl u d e d u n d er t h e A ct.

     3.    I a m c urr e ntl y a pr o s e liti g a nt a n d h a v e fil e d t h e a c c o m p a n yi n g M oti o n t o C o nti n u e t h e Tri al

           d at e, f or g o o d c a us e, a n d t o all o w a d diti o n al d ef e ns e pr e p ar ati o n w or k o n m y c as e. I a m r e q uir e d

           b y t h e C o urt t o f a mili ari z e m y s elf wit h t h e F e d. R ul es of Cri mi n al Pr o c e d ur e, t h e E C F Fili n g

           R ul es, L o c al C o urt R ul es a n d a p pli c a bl e F e d er al l a w a n d r e g ul ati o ns. All t his n e c ess ar y w or k will

           c a us e a r e as o n a bl e d el a y i n t h e tri al, a n d I h er e b y w ai v e m y ri g hts u n d er t h e A ct i n t h at r e g ar d.


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      4.    I c o ns e nt t o w ai vi n g m y ri g hts u n d er t h e Si xt h A m e n d m e nt a n d t h e S p e e d y Tri al A ct f or t h e

            a d diti o n al p eri o d of a p pr o xi m at el y 6 0 d a ys e n c o m p ass e d b y t h e gr a nti n g of m y M oti o n f or a Tri al

            C o nti n u a n c e.



I h er e b y d e cl ar e u n d er p e n alt y of p erj ur y t h at t h e f or e g oi n g is tr u e a n d c orr e ct.

E x e c ut e d o n J u n e 1 3, 2 0 2 3

/ s / Ki m berlee Pit a w a n a k w at

Ki m b erl e e Pit a w a n a k w at
2 6 2 1 4 F ost er R o a d
M o nr o e, O R 9 7 4 5 6
ki m b erl e e. pit a n k wt @ g m ail. c o m




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